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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
MATTHEW McDERMOTT,

                               Plaintiff,

         -v-
                                                         CIVIL ACTION NO.: 18 Civ. 10853 (AJN) (SLC)

                                                                            ORDER
NYFIRESTORE.COM, INC.,

                               Defendant.


SARAH L. CAVE, United States Magistrate Judge.

         Plaintiff’s counsel Richard Liebowitz has been suspended from the practice of law in the

Southern District of New York on an interim basis pending further disciplinary proceedings.

Accordingly, by Friday, January 15, 2021, Plaintiff Matthew McDermott shall advise the Court by

letter and email to Cave_NYSDchambers@nysd.uscourts.gov whether he intends to seek

representation from another attorney with the Leibowitz firm, appear through an attorney other

than one from the Leibowitz firm, or proceed pro se (without legal counsel).

         An attorney or paralegal from Mr. Leibowitz’s firm, other than Mr. Leibowitz, shall serve

a copy of this order on Plaintiff McDermott by Thursday, January 14, 2021, and file proof of

service of same on Thursday, January 14, 2021. The Court also requests that this attorney shall

advise Plaintiff of the contents of this order by email as soon as practicable.

Dated:          New York, New York
                January 12, 2021

                                                      SO ORDERED



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judge
